                         IN THE UNITED DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
     Plaintiff,                                )
                                               )
                                               )
v.                                             )   Case No.: 2:19-cr-00013
                                               )
                                               )
GEORGIANNA A.M. GIAMPIETRO                     )    Chief Judge Waverly D. Crenshaw, Jr.
    Defendant.                                 )


               DEFENDANT’S NOTICE OF INTENT TO PLEAD GUILTY

        Georgianna A.M. Giampietro files this Notice of Intent Plead Guilty to an information1

charging 18 USC 2339C(c) in case number 19-cr-00013.


Respectfully submitted this 14th day of January, 2022.

                                                                       By: /s/ Charles D. Swift
                                                                               Charles D. Swift
                                                          Pro Hac Vice Attorney for Giampietro
                                                               100 N. Central Expy, Suite 1010
                                                                        Richardson, TX 75080
                                                                                (972) 914-2507


                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 14th day of January, 2022, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which will send a notice of
electronic filing to all counsel of record.

                                                                        By: /s/ Charles D. Swift
                                                                 Charles D. Swift, Pro Hac Vice
                                                                        Attorney for Giampietro
                                                                100 N. Central Expy, Suite 1010
                                                                         Richardson, TX 75080


1
 The government has indicated to the defense that they will be filing the new information
charging 18 USC 2339C(c), later this afternoon.
                                               1

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